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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DTVISION

 UNITED STATES OF AMERICA,
    Plaintiff,

                                                           NO. 5:20-CR-021-02-H

 DUSTIN SCOTT WRIGHT (2),
    Defendant.


                 ORDER ACCEPTING REPORT AND RECOMMEAIDATION
                    OF TIIE TINITED STATES MAGISTRATE JI.JDGE
                           CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry

 of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

 Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

 having been filed within fourteen (14) days of service in accordance wittt 28 U.S.C.

 $ 636OXl), the undersigrred District Judge is of the opinion that the Report and

 Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

 hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

 Defendant is hereby adjudged guilty.

        Sentence will be imposed in accordance with the Court's scheduling order.

        SO ORDERED.

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                                            J       WESLEY       RIX
                                                ITED STATES DISTRICT JUDGE
